
*1235opinion.
Arundell:
The effect of the first waiver, dated December 24, 1924, need not- bo decided as in our opinion those subsequently given are sufficient to extend the statutory period beyond the date of the deficiency notice. Brown &amp; Sons Lumber Co. v. Burnet, 28 U. S. 283, footnote 4.
The waivers dated February 17, 1926, extended the statutory period to December 31, 1926, and before that date, namely on November 8, 1926, a further waiver was given extending the time to December 31, 1927. Before the latter date the deficiency notice was mailed.
The arguments against the validity of the waivers of February 17, 1926, and November 8, 1926, are disposed of in our opinion in Frederick T. Fleitmann, 22 B. T. A. 1223, decided this day. In our opinion the waivers were effective to extend the time, the deficiency notice was timely sent, and assessment and collection are not barred.

This proceeding will he restored to the general calendar for hearing on the merits in due course.

